Case 8:19-cv-01082-DOC-JDE Document 24 Filed 09/20/19 Page 1 of 2 Page ID #:107



  1    James R. Touchstone, Esq., SBN 184584
       jrt@jones-mayer.com
  2    Denise L. Rocawich, Esq., SBN 232792
       dlr@jones-mayer.com
  3    David R. Demurjian, Esq., SBN 237742
       drd@jones-mayer.com
  4    JONES & MAYER
       3777 North Harbor Boulevard
  5    Fullerton, CA 92835
       Telephone: (714) 446-1400
  6    Facsimile: (714) 446-1448
  7    Attorneys for Defendants, CITY OF FULLERTON
  8
  9                           UNITED STATES DISTRICT COURT
 10                         CENTRAL DISTRICT OF CALIFORNIA
 11
 12    MARISELLA MACIAS,                           Case No. 8:19-cv-01082-DOC (JDEx)
 13                  Plaintiff,                    Hon. David O. Carter
 14           v.                                   NOTICE OF SETTLEMENT
 15    CITY OF FULLERTON; Corporal
       JOSEPH ZUNIGA, individually and as
 16    a peace officer, DOES 1 through 10,
       inclusive,
 17
                     Defendants.
 18
 19
 20          TO THE HONORABLE JUDGE DAVID O. CARTER:
 21          PLEASE TAKE NOTICE that Plaintiff, MARISELLA MACIAS and
 22    Defendants CITY OF FULLERTON and JOSEPH ZINIGA in the above-referenced
 23    matter, by and through their undersigned counsel, submit the following Notice of
 24    Settlement:
 25          Plaintiff, MARISELLA MACIAS and Defendants, CITY OF FULLERTON
 26    and Corporal JOSEPH ZUNIGA, have reached a settlement of all causes of actions
 27    and issues between all parties in the above-referenced case.
 28
                                                -1-
                                     NOTICE OF SETTEMENT
Case 8:19-cv-01082-DOC-JDE Document 24 Filed 09/20/19 Page 2 of 2 Page ID #:108



  1          A formal settlement agreement will be circulated between the parties for
  2    review and approval. Once all of the appropriate signatures have been obtained, an
  3    executed Stipulation of Dismissal of the entire action will be filed within 30 days.
  4
                                               Respectfully Submitted,
  5    Dated: September 20, 2019               JONES & MAYER
  6
  7                                            By: /s/James R. Touchstone
  8                                              James R. Touchstone
                                                 Denise L. Rocawich
  9                                              David R. Demurjian
                                                 Attorneys for Defendant
 10                                              CITY OF FULLERTON
 11
       Dated: September 20, 2019               THE BECK LAW FIRM
 12
 13
                                               By: /s/ Thomas E. Beck
 14                                              Thomas E. Beck
 15                                              Attorneys for Plaintiff
                                                 MARISELLA MACIAS
 16
 17
 18
 19
 20
 21
 22
 23
 24          Pursuant to Central District Local Rule 5-4.3.4(a)(2)(i), the filer of this
 25    document attests that all other signatories listed, and on whose behalf the filing is
 26    submitted, concur in the filing’s content and have authorized the filing.
 27
 28
                                                  -2-
                                      NOTICE OF SETTLEMENT
